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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

AMAZON WEB SERVICES, INC.,                       )
                                                 )
               Plaintiff,                        )
                                                 )
               v.                                )             No. 19-1796C
                                                 )    (Judge Patricia E. Campbell-Smith)
THE UNITED STATES,                               )
                                                 )
               Defendant,                        )
                                                 )
and                                              )
                                                 )
MICROSOFT CORPORATION,                           )
                                                 )
               Defendant-Intervenor.             )

      DEFENDANT’S NOTICE OF INTENT TO FILE CLASSIFIED INFORMATION

       Pursuant to this Court’s Guidelines for Cases Involving Classified Information, notice is

hereby given that the above-captioned case will include classified information. Defendant, the

United States, anticipates that the administrative record will contain a very small number of

classified documents. The undersigned will await the Court’s instruction on how to file

documents containing classified information in this case.
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                                           Respectfully submitted,

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                                           Assistant Attorney General

                                           ROBERT E. KIRSCHMAN, JR.
                                           Director

                                           s/ Patricia M. McCarthy
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December 31, 2019                          Attorneys for Defendant




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